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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTI-DISTRICT LITIGATION




 In re: RAH COLOR TECHNOLOGIES LLC
                                                              MDL CASE NO. 2874
 PATENT LITIGATION




XEROX CORPORATION’S MEMORANDUM OF LAW IN SUPPORT OF THE CONSOLIDATION OF THE
RAH COLOR TECHNOLOGIES PATENT ACTIONS AND TRANSFER TO THE NORTHERN DISTRICT
      OF CALIFORNIA FOR PRETRIAL PROCEEDINGS PURSUANT TO 28 U.S.C. § 1407

       Xerox Corporation supports the transfer of its case (W.D.N.Y. No. 18-cv-6746) to the

Northern District of California for coordinated pretrial proceedings with the other RAH Color

Technologies LLC (“RAHCT”) patent infringement cases (RAH Color Technologies LLC v. Adobe

Systems, Inc., N.D. Cal. No. 3:18-cv-03277; Electronics for Imaging, Inc. v. RAH Color

Technologies LLC, N.D. Cal. No. 3:18-cv-01612; RAH Color Technologies LLC v.

Quad/Graphics, Inc., E.D. Wisc. No. 2:18-cv-00087) (collectively, with Xerox’s case, the

“RAHCT Patent Actions”).

       Consolidation is warranted here. The RAHCT Patent Actions involve a total of nine

patents, seven of which are part of the same patent family, pertaining to the field of color

management. These actions, therefore, involve common questions of law and fact on issues such

as patent claim construction and validity. Moreover, of the products accused by RAHCT in

Xerox’s case, the overwhelming majority were supplied to Xerox by EFI, which resides in the

Northern District of California (W.D.N.Y. No. 6:18-cv-06746, Dkt. No. 31-1, ¶ 8) and is the

plaintiff in a declaratory judgment action against RAH currently venued there (N.D. Cal. No. 3:18-
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cv-01612). As such, Xerox’s non-infringement arguments will substantially overlap EFI’s

positions. Further, Adobe (whose software is also likely implicated in the Xerox case) also resides

in the Northern District of California and is the defendant in a lawsuit pending in that district, in

which RAHCT has asserted three of the eight patents at issue in this case. There is, therefore,

significant uniformity and efficiency to be realized by consolidating Xerox’s case in that District.

And because Xerox’s case was just transferred to the Western District of New York, which has

yet to address the case, consolidation will involve no waste of court resources.

       Consolidation is thus both warranted and desirable here. To Xerox’s knowledge, there have

been no substantive rulings in any of the RAHCT Patent Actions on the common legal and factual

issues. Uniformity on these issues is important, and would be served by adjudication in a single

forum. Further, the Northern District of California is well equipped to provide a convenient and

effective forum for consolidated pretrial proceedings in complex patent litigation, and two of the

four RAHCT Patent Actions – Adobe and EFI – are already venued there. It is, by far, the best

district for consolidation, and Xerox requests that the Panel transfer the RAHCT Patent Actions

there for pretrial proceedings.

                                            ARGUMENT

       Section 1407(a) permits consolidated pretrial proceedings in a single district where “civil

actions involving one or more common questions of fact are pending in different districts[.]” 28

U.S.C. § 1407(a). The JPML should consolidate and transfer common civil actions “for the

convenience of parties and witnesses” and to “promote the just and efficient conduct of such

actions.” Id. In patent litigation, the JPML has noted that:

       We are of the view that centralization can meaningfully reduce the number of
       potentially inconsistent rulings and create significant efficiencies . . . Centralization
       will place all actions before a single judge who can preside over discovery relating



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       to the common patents, which will inform and aid the consistent construction of the
       patents' claims.

In re Maxim Integrated Prods., 867 F. Supp. 2d 1333, 1334 (J.P.M.L. 2012).

           A. The RAHCT Patent Actions Involve Common Legal and Factual Questions

       Where multiple patent actions involve the same “family” of patents, consolidation “is

necessary to eliminate duplicative discovery, prevent inconsistent pretrial rulings, and conserve

the resources of the parties, their counsel and the judiciary.” In re Acacia Media Techs. Corp.

Patent Litig., 360 F. Supp. 2d 1377, 1379 (J.P.M.L. 2005). Indeed, actions involving the same

family of patents “can thus be expected to share factual and legal questions concerning such

matters as the technology underlying the patents, prior art, claim construction and/or issues of

infringement involving the patents.” Id. Even where the alleged infringing products in each

independent civil action contain varying technology, such a distinction is not a bar to consolidated

transfer. See In re Maxim Integrated Prods., 867 F. Supp. 2d at 1334 (“There could very well be

some variances in terms of the technology employed with the various defendants’ respective

mobile applications or the circumstances surrounding the alleged infringement, but [t]ransfer

under Section 1407(a) does not require a complete identity or even a majority of common factual

or legal issues as a prerequisite to transfer.”) (internal quotation omitted).

       In light of the overlapping RAHCT family of patents among the actions, Xerox’s case

should be consolidated with those already venued in the Northern District of California. As

Quad/Graphics demonstrated, almost every patent asserted by RAHCT (or referenced in EFI’s

declaratory judgment action against RAHCT) is asserted against more than one party. (See JPML

Dkt. No. 1-1, p. 2.) Given this substantial overlap, consolidation is advantageous as it will allow a

single court to make consistent determinations on common legal and factual issues, such as claim

construction and validity. See, e.g., In re Acacia Media Techs. Corp. Patent Litig., 360 F. Supp.

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2d at 1379 (consolidating cases involving the “Yurt family” of patents, as each was “expected to

share factual and legal questions concerning such matters as the technology underlying the patents,

prior art, claim construction and/or issues of infringement involving the patents”).1 By contrast,

allowing the RAHCT Patent Actions to proceed in multiple courts, despite such commonality,

risks inconsistent rulings on these issues. See id. (“Centralization under Section 1407 is necessary

in order to eliminate duplicative discovery, prevent inconsistent pretrial rulings, and conserve the

resources of the parties, their counsel and the judiciary.”).

       Moreover, in Xerox’s particular case, the vast majority of the accused products were

supplied to Xerox by EFI. (W.D.N.Y. No. 6:18-cv-06746, Dkt. No. 31-4, ¶ 8). It also appears, and

further discovery should confirm, that Adobe software is implicated in some of the Xerox accused

products. Consolidating Xerox’s case with the EFI and Adobe cases will allow for uniformity in

adjudication of the non-infringement arguments concerning those products, in addition to claim

construction and the invalidity arguments concerning the family of patents-in-suit. The cases

therefore are ripe for consolidation.

           B. It Will Be Efficient to Consolidate the RAHCT Patent Actions in the Northern
              District of California

       Consolidation also will promote judicial efficiency and convenience for parties and

witnesses. In re Acacia Media Techs. Corp. Patent Litig., 360 F. Supp. 2d at 1379 (“centralization

in the Northern District of California will serve the convenience of the parties and witnesses and




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  In addition to the obvious issues of invalidity and claim construction, another common issue
among this group of cases is that the products accused by RAHCT involve use of color profiles
per specifications issued by the International Color Consortium (“ICC”). (See, e.g., N.D. Cal. No.
3:18-cv-03277 Dkt. No.1, ¶ 48 [Adobe]; N.D. Cal. No. 3:18-cv-01612, Dkt. No. 18, ¶ 48 [EFI];
W.D.N.Y. 6:18-cv-06746, Dkt. No. 21, ¶ 54 [Xerox]; E.D. Wisc. No. 2:18-cv-00087, Dkt. No. 89,
¶ 50 [Quad/Graphics].) Xerox believes the involvement of ICC color profiles also will present
issues that should be resolved by a single court to ensure consistency.
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promote the just and efficient conduct of the litigation.”). It makes eminent sense for a single court,

rather than multiple courts, to learn the complex technologies underlying the patents-in-suit and

the accused products. Consolidation limits that burden to a single court. See, e.g., In re Bear Creek

Techs., Inc., (722) Patent Litig., 858 F. Supp. 2d 1375, 1380 (J.P.M.L. 2012) (consolidation of

patent actions yields “substantial savings in terms of judicial economy by having a single judge

become acquainted with the complex patented technology and construing the patent in a consistent

fashion[.]”).

          The Northern District of California should be selected as the most convenient forum for all

parties and witnesses. This is the district where “[s]everal accused infringers are located.” In re

Protegrity Corp., 84 F. Supp. 3d 1380, 1382 (J.P.M.L. 2015). It is also the district where pertinent

witnesses and documents relevant to multiple RAHCT Patent Actions are located. See, e.g., RAH

Color Techs. LLC v. Adobe Sys., 2018 U.S. Dist. LEXIS 88589, at *9 (N.D. Ill. May 28, 2018) (“it

is highly likely that there are witnesses involved with the development of Adobe’s allegedly

infringing products who are located in the Northern District of California, where Adobe has its

headquarters.”); RAH Color Techs., LLC v. Xerox Corp., W.D.N.Y. No. 18-cv-6746, at Dkt. No.

60, p. 4 (observing that “[t]he critical non-party witnesses here are likely to come from the third-

party print server developers”). In fact, when Xerox moved to transfer its case from the Northern

District of Illinois, which had no connection to the case, it requested transfer to the Northern

District of California based on the convenience of that venue to non-party witnesses (EFI and

Adobe) and the advantages of judicial economy there. (W.D.N.Y. No. 6:18-cv-06746, Dkt. No.

31-32).

          Since Xerox’s case has only just been transferred to the Western District of New York, and

no proceedings there have yet occurred, no judicial resources have been expended on the common



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fact and legal issues. Further, consolidating Xerox’s case in the Northern District of California

would be the least disruptive move for all parties concerned, since, as noted, two of the RAHCT

Patent Actions are already there. And in any event, the Northern District of California is generally

viewed as “an easily accessible, metropolitan district that is well equipped with the resources that

this complex docket is likely to require.” In re Compression Labs, Inc., Patent Litig., 360 F. Supp.

2d 1367, 1369 (J.P.M.L. 2005); see also In re Protegrity Corp., 84 F. Supp. 3d at 1382 (noting

that the Northern District of California “is a Patent Pilot Program Court that has adopted local

Patent Rules, and the district is highly familiar with complex technological patent litigation.”).

                                           CONCLUSION

       For these reasons, Xerox respectfully requests that the Panel issue an Order consolidating

the RAHCT Patent Actions and transferring the cases to the Northern District of California in

accordance with 28 U.S.C. § 1407(a).



Dated: October 22, 2018                               Respectfully submitted,

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